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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Stanslav Trofymenko
                                 Plaintiff,
v.                                                    Case No.: 1:16−cv−04405
                                                      Honorable Andrea R. Wood
County Of Lake, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 22, 2016:


        MINUTE entry before the Honorable Andrea R. Wood: Status hearing held.
Plaintiff shall file an amended complaint by 7/13/2016. Defendants that have appeared
shall answer the amended complaint by 8/3/2016. Status hearing continued to 8/11/2016 at
9:00 a.m. Mailed notice (meg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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